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                  EXHIBIT “A”
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                                       SWORN     STATEMENT IN PROOF OF LOSS

$ 32,230,924                                                                                          21-21947510-30
Amount of policy at time of loss                                                                      Policy Number

        06/20/2023                                                                         ialty,   LL eet                                  i
          Date issued                                                                                  gent

          06/20/2024
          Date Expires

To Admiral Indemnity Company                                                           Claim #       204-1968


At time of loss, by the above indicated policy of Insurance you insured The Landmark Condo Assoc against loss by
    Fire                                           to the property according to the terms and conditions of the said
policy and all forms, endorsements, transfers and assignments attached thereto.

1. Time and Origin: A          Fire                                     loss occurred about the hour of
   o'clock A.M.,on the 17th day of January                          , 2024.  The cause and origin of the said
   loss were Undetermined After Investigation
2. Occupancy: The building described, or containing the property described, was occupied at the time
   of the loss as follows, and for no other purpose whatever: Condominiums
3. Title and Interest: At the time of the loss the interest of your insured in the property deseribed
     therein was        N/A                                                         .no other person or
     persons had any interest therein or encumbrance thereon, except:
4.   Changes: Since the said policy was issued there has been no assignment thereof, or change of
     interest, use, occupancy, possession, location or exposure of the property described ane

5.   Total Insurance:          The total amount of insurance upon the property described by this policy was, at thee time of the
     loss, 32,230,924
           $
6. The full cost of repair or replacement is ..............:csssssssseessseseeeseceeesceesseaes $ 15.027,990.46
7.   Applicable depreciation or betterment is ..............cccssssseseeesseeeeseesseecssee $ (1,502,799.05)
8.   Actual cash value loss is (Line 6 minus Line 7) ........ ccc ceccseesesteeeecsesesenee $ 13,525,191.41
9.   Less deductibles and /or participation by the insured. ......................5 $ (10,000.00)
10. The Amount Claimed under the above numbered policyis ..............+ $ 13,525,181.00

     The said loss did not originate by any act, design or procurement on the part of this affiant; nothing has been done by or
     with the privity or consent of this affiant to violate the conditions of the policy, or render it void; no articles are mentioned
     herein or in annexed schedules but such as were destroyed or damaged at the time of said loss; no property saved has in
     any manner been concealed, and no attempt to deceived the said company, as to the extent of said loss, has in any manner
     been made. Any other information that may be required will be furnished and considered a part of this proof.

     Any person who knowingly and with intent to defraud any insurance company or other person file a statement of claim
     containing any materially false information, or conceals for the purpose of misleading, information concerning any fact
     material thereto, commits a fraudulent insurance act, which is a crime.
     The furnishing of this blank or the preparation of proof by a represen           of the above insurance company is nota
     waiver of any of its rights.                                                  Walle

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